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         THE REED CENTRE for Ambulatory Urological Surgery
 111 I KANE CONCOURSE. SAY HARBOR ISLANDS. FL 33151             305 855-2050     FAX 865-2002


New York City Department of Homeless Services


Re: Mariah Lopez
DOB 4/27/1925

June 7, 2017

Mariah Lopez has been a patient of mine and underwent male to female vaginoplasty on
9/2/2009 after appropriate psychological evaluation and is medically-legally a woman since that
time. She needs to maintain the patency of her neo-vagina with dilations for 15 minutes 3
times a day. This cannot easily be done standing or sitting.


She needs to be able tà have the privacy of lying down during these times, as well as water
soluble lubricant such as KY jelly. She is also expected to douche at least 3 times a week.
for cleanliness.

 (e-\
Harold M. Reed, M.D.
Board Certified Urologist and Transgender Surgeon
1-305-865-2000.
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                                         TEL 212-677-7999 x4202 FAX 212-739-0007
                                         WIMN.HOUSINGWORKS.ORG




  June 13, 2017

  Re: Mariah Lopez

  To whom it concerns,

  Ms. Lopez is requesting to return to Marsha’s Shelter. She is currently on SSD, due to her
  PTSD and gender dysphoria. Mariah is highly distressed with her current living situation
  in a women’s shelter, where it is a dormitory-like set-up. She considers this as a hann
  setting, that being with a cisgender female population inhibits herself to express her own
  gender identity, causing her more distress, mood changes.

  The location of her shelter is a triggering factor for her PTSD, since she experienced her
  trauma within the same neighborhood. Her living situation led her to return to
  prostitution! being a sex worker, which placed her in a higher distress. fearing that she
  could “snap” at her clients due to her instability, I am recommending that Ms. Lopez be
  transferred back to Marsha’s Shelter and/or LGBTQ facility shelter for her own
  psychological stability. Whatever can be done to facilitate and expedite this process
  would be appreciated.




  Sincer y,


 Pierre Arty, MD             —‘ L1c#196
 Director of Psychiatry
 Housing Works
 Downtown Brooklyn Health Center
 57 Willoughby St
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                                                                                    Human Rest
  ‘Form W.864                                                                          CbildV,
   Rev. 9/1/90

        Voluntary Placement Agr    eement by Parent or C
                            (Prepare In Oulntupflcate)


                                    NOTICE
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     By signing this agreement, you will voluntaril
                                                              er of Social
  care and custody of your child to the Commission
                                                              nor will you
  Services. You do not have to sign the Agreement
                                                               it.
  be subject to any legal penalties for failure to sign            choosing,
     You have the right to talk to a lawyer of your own ut the
                                                            time, abo
  prior to signing this Agreement or at any other                cannot
  consequences of signing this legal document, If you provide
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  afford a lawyer, there are several organizations whi anizations
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  free legal services. The following arc some of the
  that provide free legal services:                                   00
        Community Action for Legal Services...(212) 431-72
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  Name of Person Signing Agreement                  Address

   L1’nda Lr-;                                           D€ease                                       Apt.
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  Parcnt(s)fLegal Guardian of          ()no.t                    custo dy of my  (our) child.
                                                             and
  request the Commissioner of Social Services to accept care
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  Cif child is born out-of-wedlock, attach acknowledgement of paternity form
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                                                                         CO     consistently   2nd   deliberately remained indifferent to the disfavored treatment that Class
                                                                                                                                                                                                                   The Named Plaintiffs
                                                                         ‘4.-
                                                                          0     members receive in New York City’s child welfare system.                                                        69,    Due to the defendants’ failure to provide each Named Plaintiff
                                                                         aD
                                                                                                 67.      This general policy of wilful blindness has led to numerous            with a safe and supportive environment where each could safely discuss and ask
                                                                          a)
                                                                          as    instances in which staff members have deliberately ignored the moss basic needs of the           questions about homosexuality and issues relating to sexual identity development,
                                                                         0      Class members. Staff members frequently refuse to intervene on belsaif of self                   disclose end express feelings of same-sex astraction, form positive peer relationships,
                                                                         N’     identified lesbian, gay, bisexual or transgendered youth in their group homes where             and otherwise learn to manage the tasks associated with the development of an adult
                                                                         LO     they would not hesitate to do so on behalf of straight youth, allowing them to be
                                                                         n-I                                                                                                    personal and social identity, the Named Plaintiffs have suffered severe sad irreparable
                                                                         CO     subjected to unconscionable treatment. One child welfare
                                                                         0                                                                     system   worker recounted:       injuries, including physical, psychological, emotional, and developments) hams. Rather
                                                                         ‘0                     (laykidsaresexredandtheyhavearightsobt.... Inoneof
                                                                          a)                                                                                                    than fulfilling their legal duty to protect the Named Plaintiffs from such harm and
                                                                                                our group homes one of the kids raid that he was gay and the
                                                                         U                      other kids said that they were going to have a “blanket party”                  providing them with professional care, the defendants have caused the Named
                                                                                                (this is when someone rushes in, throws a blanket over the head
                                                                                                of the unsuspecting victim and evesyone joins in pummeling [sic                 Plaintiffs’ injuries by inappropriately ptacinj them in living situations where they axe
                                                                                                (psmmeling)] the victim) an of the staff knew this. The staff
                                                                                                                            —
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                                                                                                sanctioned the “blanket party” because [the] kid was gay.                       constantly victimized and the residential staff refsses to protect them. Moreover, the
                                                                          a)
                                                                          E                     65.      in sum, defendants openly discriminate against members of the          defendants have discriminated against the Named Plaintiffs, denying them services
                                                                          ci    Class by excluding them from group homes solely because of their actual or perceived
                                                                          0                                                                                                     provided generally to children in the defendants’ custody based upon the Named
                                                                         0      sexual orientation and gender atypicalky, by setting a double-standard in which Class           Plainfiffi’ sexual orientation and gender asypicaliry.
                                                                                members are labeled as “problems” for no reams other than the intolerance of those
                                                                                                                                                                                                                          Joel A.
                                                                         H
                                                                         0      around them, and by turning a blind eye to the most ordinaty needs of the Class                                70.    Joel A., who is this-tam years old, has been teased about being
                                                                         0      members—refusing even to intervene to protect the safety of these children in situations
                                                                         w                                                                                                      gay as far back as he can remember. Re has been openly gay since he was nine years
                                                                         >      where they would not hesitale to do so if the safety of a straight youth were threatened.       old, when the defendants sent him to live at a large residential facility with several
                                                                         -1
                                                                         C      This pattern of discrimination, blaming, and indifference within the present system is          hundred children. Almost as aeon as Joel arrived, the other kids started calling him
                                                                         0      pervasive and continuing.                                                                       “faggot” and other names. After less than a month, the teasing escalated to physical
                                                                         >
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                                                                                                                                                                                attacks, with the other children throwing objects at Joel and physically attacking him in
                                                                                                                                                                                the shower. Such attacks sometimes happened two or three times a day-
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                                                                                              71.     Joel’s situation grew worse during the three years be lived at the                  76.    When Joel retorted such incidents, the staff frequently told him
                                                                         0
                                                                         0)     residence. He was punched, thrown down a flight of stirS, and cut by a knife, and he        that they could do nothing about any incident that they did not see. At times, however,
                                                                         0      had rocks and basteties thrown aS him, and was physically abused and attacked in other      a staff member would observe other aids harass or attack Joel and would simply ignore
                                                                                ways. His shoulder blade and finger were broken, and tilt nose broken twice, once          the incident. For example, when some older kids storied throwing pieces of wood at
                                                                         0
                                                                                from Joel’s being hit in the face with a broom. He received numerous other injuries        Joel in the park one day, Joel ran away from them, but fell and hit his head on the
                                                                         N.
                                                                               and visited the emergency room repeatedly.                                                  wtoden frame of some uwinga He aw that a staff member had been watching, but
                                                                         Lfl
                                                                                              72.    Once, in the unit where Joel lived, some children threw a blanket     when that staff member came to see how badly Joel was hurt and Joel complained
                                                                         CD
                                                                         0
                                                                               over his bend, knocked him down, tipped a locker over onto his leg, and ran Out of the      about the attack, the staff member claimed that he had not nests the incident and
                                                                         0     room, leaving him lying os the floor. A staff member told Joel that he could not            therefore could not take disciplinary action against the perpetrators.
                                                                         LL
                                                                               punish these kids because he had not personally wimessed the incident.                                     V.     Once when Joel’s nose was bleeding badly and it should have
                                                                                              73.    On another occasion, sqvezsl children were verbally harassing         been clear that he had been the victim of an attack, the staff punished him on the
                                                                         4-,
                                                                         0)    Joel for being gay while they all waited their turn to be called into a racreatios hail.    pretext that he was getting blood os the floor.
                                                                         E     When Joel tied to leave, about fourteen kids jumped him while others watched. One                         78.     Eves when the staff purported to intervene on Joel’s behalf, they
                                                                         Ci
                                                                         0     held Joel while another punched him in the face, causing his nose to bleed profusely.       sometimes did so in ways that demeaned Joel. For example, when one of the kids
                                                                         tD
                                                                                              74.    Another time, two aids almott drowned Joel. Although Joel had         threw Joel down a flight of stairs, he heard a staff member ask the child, WJsy did
                                                                         H     been threatened by one of the kids and had complained so the lifeguard, the lifeguard,      you do this? I thought you didn’t want to touch him’ Also, the staff would
                                                                               rather than intervening effectively, simply assured Joel that he need not worry.            frequently try to protest Joel by isolating him from the other kids. Thus, Joel would
                                                                         U
                                                                         w     Moments later, the two lilds ganged up on Joel, and one held his head under water           have to wait while everyone else ate dinner, and then eat alone, and he could not watch
                                                                         >
                                                                               until Joel was able to struggle to the surface, coughing up water and vomiting. The         TV when the other kids were watching because the TV was in a common room. Such
                                                                         s-1
                                                                         0     staff did nothing to punish the sItacke,                                                    isolation sometimes lasted for months.
                                                                         Cs,
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                                                                         >                   75.     These are only some examples of the victimization for which Joel                    79.     On information and beflef none of the staff ever made any
                                                                         Ci
                                                                         N.    was constantly targeted based on his sexual orientation.                                    attempt so teach the other kids that even if they did not like Joel, he was still a member
                                                                                                                                                                           of their community and deserved to be treated decently, fairly, and with respect.
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                                                                         CD                   80.    Instead, the staff made clear to Joel that they disapproved of Ida                  83.     On information and belief, there was no special group for
                                                                         0
                                                                               sexual orientation. For example, when Joe! tried to hang posters about meetings            sexually active straight kids.
                                                                         (N
                                                                               sponsored by Triangle Tribe—a support group for gay kids—he was told that this was                        84.     Buse of the way the other kids treated loel, and because the
                                                                         a)
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                                                                               “sexually inappropriate.” He was also told that the Gay Pride Parade was sexually          staff either did not care or did not know how to deal with this problem, Joel lived
                                                                               inappropriate for him, and that he would not be allowed to attend. One staff member        effectively as an outcast, in constant fear of being attacked. Being isolated made him
                                                                         -1    told Joel that he should go to choir rehearsal because he had a ‘bad athtude” about the    feel even more alone and afraid.
                                                                         LI)
                                                                               gay pride parade. The staff, however, allowed other boys to hang pictures of half-                        85.     Defendants knew or should have known shout the constant abuse
                                                                         CD
                                                                               naked women in their rooms. ‘Mass Joel complained that this was unthir, the staff said     that Joel suffered, Indeed, Joel wrote numerous letters to defendants and/or their
                                                                         0
                                                                         a)    that the other kids could hang such pictures because they were “normal.’                   agents explaining what was happening to him.
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                                                                                             81.     On Family Day, when each resident was allowed to invite eight                       86.     Because of the constant harassment and abuse, and defendants’
                                                                         ‘-4
                                                                         (V)   guests, including friends and girlfriends. Joel. was told that he could not invite gay     failure to protect him from it, Joel ran away.in June 1991. After Joel slept on the
                                                                               friends because they might get beaten up. Joel was therefore only allowed to invite        unset for at least one night, ACS placed him in approximately five different homes,
                                                                         0)
                                                                               family members.                                                                            none of which proved to be safe and appropriate placements for Joel. He continues to
                                                                         C-)
                                                                         0                   82.     Joel once overheard a staff member taliong about gays kids any       be subjected to harassment and abuse because of his sexual orientation.
                                                                               that ‘all they want to do is have sex.” indeed, the staff appeared preoccupied with the                                           Michael D.
                                                                         H     fear that Joel would molest other kids because he is gay, and they sentenced Joel to                      87.     Michael D. is fourteen years old. Si       he was very small, he
                                                                         0     four seven-week termS in a group for kids exhibiting “problematic sexualized               always hg,tit          girls. By the time that he was      or eleven years old, he realized
                                                                         0
                                                                         w     behavior.” All the kids in the group sessions that Joel attended were gay, and the staff   that he was gay.
                                                                               members who led them group sessions always conveyed the same message—that                                 88.     In 1994, when             was ten, he entered the foster care system
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                                                                         C     homosexuality is bad and that homosexuals want to force or coerce other people to          because his mother couldn’t
                                                                         02                                                                                                                                  care of him. He        farat placed at a group home.
                                                                         C
                                                                               have sex with them. At one meeting, one child asked a staff member why Joel had so                        89.           just a few months, Michael was        ufened to a large
                                                                         Ci
                                                                               go to those meetings. The staff member responded, “Because IJoel] has a problem.”          residential        cot center (‘RTC”) for several hundred children.
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                                            KAmERJNE RACHUN, PHD.
                                               CLINIcAL PSYCHOLOGIST


153 WAvERLY PLACE, Su;m 10                                                           PHONE:  (212) 206-3636
NEW YORK, NY 10014                                                                   FAx: (212) 206-6361
                                                                                     E-MAIL: KRAcHuN@AoL.coM
                                            Psychological Evaluation

           Client:           Mariah Lopez

           Date:             2/9/2004

           Evaluafor:        Katherine Rachlin, Ph.D. Clinical Psychologist NYS Lic# 012029

           Date of Interview:      february   9, 2004

           Place of interview: 153 Waverly Place, lOfi New York, NY 10014

           Qualifications of the Evaluator

           I am a Psychologist licensed by the state of New York. I received my clinical training at
           Teachers College, Columbia University and have become a specialist in the field of
           Gender Identity Disorders. For Over a decade I have worked with fransgender and
           transsexual individuals, conducting evaluations and psychotherapy. I also perform
           transgender-oriented training, research and education. The attached curriculum vitae
           detail my extensive experience in this area of specialization.

           Description of Identified Client

           Ms. Lopez is an 18 year old Male-to-female transgender person. She appeared well
           groomed and feminine in voice and mannerisms. During the interview Ms. Lopez
           appeared calm, relaxed, cooperative, and pleasant. Ms. Lopez was well related and
           exceptionally articulate. She was clear and very direct in her thoughts and
           communication. She appeared very mature and confident in her knowledge. The
           interview focused on her personal history and her experience of gender.

           Family and Social History

           I spoke with David Rubin, Director of Social Services at St Christopher Offilie regarding
           Ms. Lopez. We discussed her long documented relationship with children’s services and
           his knowledge of her. He reported that he had not been successful in attempts to contact
           her family, but planned to try again in the near future. Please see the attached Uniform
           Case Record dated 4/10/04, supplied by Mr. Rubin.

           Gender History
           Like many transsexuals, Ms. Lopez’s earliest memory is of pretending to be a girl and
           believing that this was possible. She was always drawn to things feminine and soft. Ms.
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     Lopez reported that by the age of six or seven she had decIded that she would “get out of
     this body”. By age nine she was demoralized as she realized that she would have to go
     through puberty and become male. She plucked facial hair as it came in and avoided
     sports so as not to get any muscle development. When she was thirteen she became aware
     of the possibility of gender transition through medical treatment. She began using
     hormones at that time and continued to pray for an opporttmityto have surgery and make
     a complete transition. Since age thirteen she has continued hormone treatment and
     silicone injections to her hips and thighs which have aided her fen±tine presentation.
     Ms. Lopez identifies as a heterosexual female and has recently ended a long-term
     relationship with her last boyfriend.

     Like many disadvantaged transgender youth Ms. Lopez has a history of prostitution.
     There are few job opportunities for transgender teens. The sex industry is one of the few
     professional communities that is supportive of fransgender people. For transgender teens,
     prostitution provides both a source of income and reinforcement that they are attractive in
     a feminine way.

     Ms. Lopez presents as an attractive young woman. She has no confusion about her
     gender. She is filly and confidently female. Her discomfort arises out of the dissonance
     between her internal identity and her external body. Though she may appear female to
     most who know her, she still has male genitals, and this is a source of pain and shame to
     her. At this time in her life she is requesting sex reassignment surgery to create genitals
     which will reflect her inner identity and allow her to live a full life as a woman.

     Psychiatric H1istory

    According to her report, Ms. Lopez was first sent to a psychotherapist when she was six
    years old. She believes that the adults in her life thought that it would help her to deal
    with the death of her mother. She claims that the therapist she saw at age six diagnosed
    her with Gender Identity Disorder. Over the years she has received psychotherapy or
    psychiatric treatment in response to aggressive behavior. She reports that she was
    hospitalized oncefor appioxfifiatelyieri days after getting in a fight in her group home.
    She claims that she has never been on psychiatric medication. She also reports no history
    of suicide attempts. She does report a private fantasy “Since age 13 every year on my
    birthday I tell myself that if I don’t have sex change by next birthday I will kill myself’.
    Such thoughts are normal for peoplerwith her condition. Suicidal gestures and attempts
    are common among transgender teens. They are often in an impossible position in which
    they can not escape their own fransgenderism but are not able to express it without
    incurring negative consequences.

    Ms. Lopez has been visibly transgender from an early age. She is a clear case of a
    transsexual child growing into a transsexual adult, She had to learn to survive by both
    hiding her gender and expressing it. Like other transgender children her gender
    expression made her vulnerable to prejudice and even violence. Children learn to cope
    with their difference in a variety of ways. They may postpone many activities such as
    dating, working, or pursuing a career until they can engage in them in their preferred
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    gender. Like many transgender individuals she may be most comfortable in places where
    gender variance is embraced. The environments perceived to be safest and most
    affirming are likely to be certain night clubs, Greenwich Village, and anywhere that
    transgender teens gather, including the subculture of transgender prostitution.

    Education and Employment History
    Ms. Lopez reported that her career goal is to get her GED and go to college and then Law
    School. For several years she has been active as a peer counselor in an HW/ATDs
    prevention program.

    The Standards of Care for the Treatment of Gender Identity Disorders.

    The Standards of Care for Gender Identity Disorders (SOC) published by The Hany
    Benjamin International Gender Dysphoria Association, Inc (Meyer et al., 2001) are
    attached. These standards set out recommended gujdelines for the treatment of
    individuals with Gender Identity Disorders. The section which addresses sex
    reassignment surgery suggests that individuals meet certain criteria for Eligibility and
    Readiness. Ms Lopez meets all of the following criteria: (I have shortened and
    paraphrased some of these. Please see the standards for the foil text of each of these
    items.)

    Readiness
       1. Legal age of majority.
       2. Twelve months of hormonal therapy.
       3. Twelve months of living as a woman.
       4. A psychological evaluation. Psychotherapy if required or recommended by the
          evaluating mental health professional.  Psychotherapy per se is not an absolute
                                                   ...



          eligibility criterion for surgery,
       5. Demonstrable knowledge of the cost, procedures, complications, etc. of various
          surgical approaches
       6. Awareness of different competent surgeons.

    Eligibility
            1. A stable, enduring, comfortable gender identity
            2. Progress in dealing with work, family and interpersonal issues. Lack of mood
                or thought disorders or other psychiatric contraindications to surgery.

    Ms. Lopez fulfills all of the eligibility and readiness criteria for surgery. Though she has
    not had extended gender-oriented psychotherapy, she has demonstrated success living as
    a woman. Psychotherapy is not a ‘cure, though it can often provide support for dealing
    with the anxiety, depression, and social challenges which accompany the experience.
    The only proven successful treatment is sex reassignment surgery. (For documentation of
    this, the outcomes, and evidence of the very low rate of regret for this procedure please
    see the references attached to this letter, particularly The Standards of Care for Gender
    Identity Disorders, Meyer et al. 2000, and the review of the literature by Carroll 1999).
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     Summary and Recommendations

      Transgender youth are visibly different from others in that their feminine characteristics
      go beyond gender expression. Ms. Lopez is not capable of changing or controlling her
      feminine qualities. Even when dressed in male clothing her transgenderism will be
      apparent. If she remains on feminizing hormones she will continue to experience breast
      development, soft skin, loss of muscle strength, softening of facial features, slower and
      sparser growth of facial and body hair, redistribution of weight to create fuller hips and
     buttocks, and increased emotionality and tendency to cry. All of these characteristics
     may make her more vulnerable to violence and discrimination. At this time Ms. Lopez is
     requesting sex reassignment surgery which will allow her to more seamlessly live as a
     woman. Such surgery will reduce the risk she currently faces on a daily basis. Living as
     a woman with a penis is a hardship. There is always the danger that someone may
     challenge her, invalidate her, or cause her serious harm in the face of this evidence of
     difference. A woman with a penis is also at a disadvantage in social situations, in
     romantic relationships. In a society that genders bathrooms, locker rooms, dormitories,
     fitting rooms, and more, she must constantly hope that no one will find out the true status
     of her body.

    If Ms. Lopez undergoes surgery and has satisf’ing surgical results, she can expect the
    following: reduced anxiety and defensiveness due to fears of being “found out” or
    challenged; increased comfort in social and sexual situations; increased acceptance by
    potential friends, employers, and sexual partners; increased personal comfort with her
    own body; satisf’ing sexual relationships, including penetration and orgasm; all of the
    necessary criteria for changing her name and gender on official documents to the extent
    allowed by law. For example, she will be able to apply for employment as a woman,
    show identification as a female to human resources, use the women’s room, and dress as
    a woman without question or disruption.

    Ms. Lopez appeared to be of above-average intelligence, had adequate judgment, and
     good social skills. She showed no signs of mood or thought disorder and there was
    nothing to suggest any underlying psychopathology which would impact on her gender
    identity. from her report, she appeared to meet all of the criteria for the DSMIV
    diagnosis of Gender Identity Disorder. She is classically transsexual because of her
    uncomplicated female gender identity. She reported a lifelong cross-gender identification
    which seems to have been intense, stable, and enduring. She has had hormonal treatment
    to appear more feminine and she has been happy with the results

    Ms. Lopez has been living and as a female for some time. In this respect, she has
    achieved a great deal, but her ability to interact in the world is still limited by the
    existence of male reproductive organs. To anyone meeting her Ms. Lopez is an attractive
    woman with a feminine figure enhanced by female hormones. The incongruity between
    her physical self, her gender identity, and her genitals may cause her to be a target of
    prejudice and even violence. It is necessary both for her emotional well being, and her
    physical safety, that she appears fully female. For these reasons, gender conhrming
    surgery/vaginoplasty and labiaplasty is appropriate and necessary.
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     from this brief evaluation it would seem that she is capable of maldng good decisions for
     herself regarding gender transition and that she is an appropriate candidate for sex
     reassignment surgery. There do not appear to be any psychiatric contraindications to her
     undergoing such surgery at this time. It is likely that such surgery will enhance her
     quality of life and enable her to fully engage in social and professional activities. To
     deny her this surgery could compromise her mental health as well as her physical safety.
     If you would like more information regarding my work with this patient please contact
     meat212206-3636.


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    Katherine Racfflin, Ph.D.
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    gender reassignment surgery. Paper presented at the 1993 XIII International Symposium
    on Gender Dysphoria: Advances in Treatment, The Harry Benjamin International Gender
    Dysphoria Association, Inc. New York, NY.

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    Gender Dysphoria Association Symposium, The State of Our Art and the State of Our
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    H. Devor, L. Gooren, I. Joris Hage, S. Kirk, B. Kuiper, D. Laub, A. Lawrence, Y.
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                                               CURRICULUM VITAE
                                              Katherine Louise Rachlin

                                   153 Waverly Place suite 10, New York, NY. 10014
                      Telephone: (212) 206-3636 Fax: (212) 206-6361 e-mail:KRach1in@ao1.com

     Professional Credentials

                        Licensed Psychologist since 1993. New York State # 012029.
                        AASECT Certified Sex Therapist since 1997
     Education

     Sept. 1996         Postdoctoral Respecialization, Clinical Psychology.
                        Teachers College, Columbia University.
    Dec. 1991           Ph.D. Psychology, Applied Research and Evaluation. Hofstra University.
    Dec. 1986           M.A. Psychology, Applied Research and Evaluation. Hofstra University.
    May 1983            BA. cairn taude, Psychology. Marymount Manhattan College.


    Clinical Experience

    Nov. 1996-          Psychotherapist, Supervisor, and Trainer in private practice. Provide psychotherapy
    Present             for individuals and couples, specializing in issues of sexuality and gender identity.
                        Provide supervision for psychotherapists. who want training in working with lransgender
                        and sexually diverse clients. Deliver training in educational institutions, health care
                        settings, and corporations to provide staff with a greater understanding of transgender
                        issues.

    Aug. 1999-         Psychologist PsychAssociates Group, AIDS Services Center of Lower
    July. 2000         Manhattan. Conducted individual and group psychotherapy and psychological
                       assessments with HIV positive individuals.

    Nov. 1996-         Psychologist PsychAssociates Group, ARC.
    Aug. 1999          Conducted individual and group psychotherapy and psychological assessments in group
                       homes and sheltered workshops with developmentally delayed adults.

    Sept. 1995-        Psychology Intern Manhattan State Psychiatric Center, Ward’s Island, New
    Sept.1996,,.,      York, New York. APA approved fuR-time year-long internship)               1-

                       Worked with acute admissions and severely and chronically mentally ill inpatient
                       population at state psychiatric hospital.

    Sept. 1994    -    Psychology Extern Adult Outpatient Psychiatric Clinic, St. Luke’s-Roosevelt
    July. 1995         Hospital, New York City. Conducted individual psychotherapy, intake
                       interviews, and psychological testing.

    Jan. 1994-         Psychotherapist The Center For Psychological Services, Teachers
    May 1995           College, Columbia University Conducted intake interviews, psychological
                       testing, and psychotherapy with individuals and couples.

    Sept. 1994   -     Family and Couples Support Group Leader. The Gender Identity
                                                                      -



    Aug. 1995          Project, The Lesbian, Gay, Bisexual and Transgender Community Services Center of
                       New York City. facilitated two bi-monthly support groups: One for families of
                       transsexuals and one for transsexual couples.

    1989   -           Hosted the Fraternity, an information network and support group for female-to-male
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     1993             franssexuals, crossdressers, their significant others and helping professionals.

     Additional Work Experience

     1991-93          Medical Writer and Project Director. Myofascial Pain and Fibromyalcia: Triggerpoint
                      Management. Mosby Publishers.
     1990-91          Adjunct Assistant Professor of Psychology, Hofstra University.
     1986-92          Researcher, Management Consultant, and Human Resources Associate (details
                      available upon request)
    Prior to 1986     While a student, I held numerous jobs in cultural institutions around Manhattan including
                      The Metropolitain Museum of Art, The Metropolitain Opera, The Marlborough Gallery,
                      and The New York Lyric Opera. Details available upon request.

      thiished Papers

    Paper currently in Preparation for Publication FTMs experiences of1-lysterectomy and Oophorectomy
                                                     -


    (coauthors Griffin Hansbwy and Gabrie Fenigsohn)

    Paper currently in Preparation for Publication   -   A Six-Stage Model applied to Gender Identity Development
    in Psychotherapy

    Paper currently in Preparation for Publication Flexible Use ofthe Standards ofCare #1: Psychological
                                                     -



    Evaluation in Lieu ofPsychotherapy (coauthor John Capozuca)

    Paper currently under review for Publication Utilization ofHealth Care Among FTMs in the United States.
    (Coauthor Jamison Green)

    Traizsgendered Individuals’ Experiences ofPsychotherapy. International Journal of Transgenderism, 2002,
    Volume 6, Number 1, available at http:llwww.symposion.com/ijtl.

    FTM 101: Dispelling Myths About the Invisible and Impossible. Book Chapter in The Phallus Palace:
    Female-to-Male Transsexuals, 2002. Dean Kotula editor. Alyson Publications: Los Angeles CA.

    Factors Which Influence Individual ‘.c Decisions When Considering FTM Genital Surgely. International
    Journal of Transgenderism, 1999, Volume 3, Number 3, available at http://www.symposion.com/ijt/.

    Papers Presented.

    Transmasculine Individualr Experiences with Hysterectomy/Oophorectomy. Poster Presentation.
    Coauthors Gabriel Fenigsohn, MA. and Griffin Hansbrny. The XVIII Harry Benjamin International
    Symposium on Gender Dysphoria. 10-13 September 2003, Ghent, Belgium.

    flexible Use ofthe Standards ofCare: First in a Series. Presented with John Capozuca, Ph.D. at the
    XVIII Harry Benjamin International Symposium on Gender Dysphoria. 10-13 September 2003, Ghent,
    Belgium.

    November 2001, Trends in the Evolving FTM Community: Challenges for Clinical Providers. Paper
    presented at the XVII Harry Benjamin International Symposium on Gender Dysphoria. October31-
    November 4, 2001, Galveston, Texas.

    November 2001, Utilization ofHealth Care Among FTMs in the United States. (Coauthor Jamison Green)
    Paper presented at the XVII Harry Benjamin International Symposium on Gender Dysphoria. October31-
    November 4, 2001, Galveston, Texas.
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     August 2001, Tranrgendered Individuals Experiences ofPsychotherapy. Paper presented at the American
     Psychological Association 109th Annual Convention, San Francisco, CA. August 24-28, 2001.

    March 2001, Working With Transgendered Women in Recovery. Presented at Speakout conference
    sponsored by The Lesbian and Gay Community Services Center of New York City.

    february 2001, The View from The Wings. Key Note Address at the True Spirit Conference sponsored by
    MvIBOYZ, Washington, DC.

    October 2000, The Ej5’bcts of Gate-Keeping on Experiences with Psychotherapists, presented at The fourth
    International Congress on Sex and Gender, October 6-8, Philadelphia, Pennsylvania.

    August 1999, Meeting At The Gate: A National Survey ofTransgenderedlndiwduals ‘Experiences of
    Psychotherapy, presented at The Harry Benjamin International Dysphoria Association XIV Symposium
    August 17-2 1, 1999, London, England.

    September 1998, factors Which Influence Consumers’ Decisions Regarding Female-To-Male Genital
    Reconstructive Surgery, presented at The Third International Congress on Sex and Gender, September 18-
    20, 1998, Oxford, England.

    September 1997, factors Which Influence Consumers’ Decisions Regarding female-To-Mate Genital
    Reconstructive Surgei presented at The Harry’ Benjamin International Gender Dysphoria Association XV
    Symposium, September 10-13, 1997, Vancouver, BC, Canada.

    August 1997, Intimacy Issuesfor Partners offernale-to-Male Transeexuals, presented at The Third FTM
    Conference of the Americas, Boston, Mass.

    June 1997, Partners in the Journey: Psychotherapy and Six Stages of Gender Revelation presented at the
    Second Congress on Sex and Gender, King of Prussia, PA.

    April 1996, Sexual Issues Brought Into Psychotherapy Early in Gender Transition presented at The Second
    Annual Transsexual Health and Empowerment Conference, sponsored by The Gender Identity Project of
    The Lesbian and Gay Community Services Center of New York City.

   August 1995, No-Hormone Non-Operative options for female-to-Male Transsexuals and Observations on
   fTM Men a Therapist’s perspective, both presented at the first FTM Conference of the Americas, San
              -



   Francisco, CA.

   April 1995, Transgender Issues in Psychotherapy, presented at The First Annual Transsexual Health and
   Empowerment Conference, sponsored by The Gender Identity Project of The Lesbian and Gay Community
   Services Center of New York City.

   January 1992, Seif-Managed Teams: Implicationsfor Assessment. Presented at the International Personnel
   Management Association Assessment Council Convention, Baltimore, MD. In collaboration with Ira
   Kaplan, PhD. and William Metlay, Ph.D.

   Thesis

   Doctoral Dissertation: July 1991 Measurement of Group Behavior. Exploration of a systems model and
   metatheories of systems models that had been applied to work groups, Doctoral Dissertation, Hofstra
   University, Department of Psychology.

   Professional Affiliations

   The American Psychological Association Member Division 44 Translaskforee
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     The Hany Benjamin International Gender Dysphoria Association Member of the Committee to Rrevise
                                                               -


     the Standards of Care for the Treatment of Gender Disorders
     FTM International Member of the Board of Directors 1999-2002
                     -



     The New York State Psychological Association
     The American Association of Sex Educators, Counselors, and Therapists
     The Society for The Scientific Study of Sexuality
     The New York Working Group on Gender Disorders, New York State Psychiatric Institute
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                                      C. Christine Wheeler, Ph.D.
                                    310 East 46th Street, Suite 12-H
                                    NewYork, New York 10017 USA
                                     Telephone: 1 (212) 599-2254
                                      Facsimile: I (212) 973-9431
                                                                                    October 11 2005

    Michael Katch, Ph.D.
    Associate Commissioner
    Administration for Children’s Services                RE:     Mariah Joel Lopez
    Direct Congregate Care Services                       58:     XXX-XX-XXXX
                          20th
    2 Washington Street,       Floor                      DOS:    April 27, 1965
    New York, New York 10004

                                    RE: Psychiatric Evaluation and Prognosis
     Dear Dr. Ketch:

               I am a psychotherapist and degreed sexologist for over 30 years and have been specializing in
     the diagnosis and treatment of Gender Identity Disorders, as well as disorders resulting from addictive,
     phobic, compulsive or abusive behaviors, parapheliac conditions, sexual dysfunction, body dysmorphic
     disorders for the past 33 of those years. I am a charter member, fellow and current Board Member of
     the oldest professional organization The Harry Benjamin International Gender Dysphoria Association,
     Inc. (HBIGDA), coauthor of the current medical treatment guidelines for Gender Identity Disorders
     entitled, ‘The Standards of Care,” and Ooauthor of a well known treatment chapter entitled, “Gender
     Identity Disorders (Transsexualism)” published In Treatments ofPsychiatric Disorders (Second Edition)
     by American Psychiatric Press, Inc. (1995).

     PRESENTING PROBLEM

              Mariah Lopez was referred by Administration for Children’s Services, through recommendation
     from Lawyers for Children. The purpose of this lengthy evaluation; as I nderstand it, Is to determine
     the current psychological status of Mariah Lopez, assess diagnostics and co-morbidity, and to render
     an opinion regarding whether or not any dysfunction assessed may be attributable to her eligibility or
     readiness for genital restructuring surgery, in diagnostic confirmUon of Gender Identity Disorder.

     METHODOLOGY

                Psycho diagnostic Interview and clinical intake            iLopez totaled twenty-three hours,
     Subsequent to my clinical intake, with signed consent from the patient, I have reviewed the following
     materials, including clinical reports and patient charts, from other practitioners or agencies inclusively
     for this report: (1) office records, intake assessment and reportfrom endocrinologist Michael K.
     Bartalos, M.D., and assessment dated 2003 from Katherine Rachlin, Ph.D. (2) medical records of
     psychiatrist Lawrence Sheff, M.D., as well as medical report from surgeon Arnold Melman, M.D., (3)
     Criminal History Record Information, and (4) other related documents and correspondence from Mariah
     Lopez, reviewed in preparation for writin this report.


     CLINICAL PICTURE

               I initially saw Mariah Lopez (birth name Brian Joel Lopez) for psychiatric diagnostic evaluation
     on May 26, 2005, followed by a series of sessions subsequently through October 6, 2005 for a total of
     23 clinical in-person hours. In addition to my intake assessment and in response to my request, the
     patient has provided me with additional written material concerning her history and perspective on her
     Gender Identity Disorder. Mariah Lopez is not currently in treatment of any kind whatsoever to more
     adequately prepare her for the consequences of choices regarding her reuested genital restructuring
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       surgery. Ms. Lopez’s attitudes have been naively negative toward psychotherapy in general she      —




       initially states, “I don’t need therapy, know who I am. I’ve beer in the community since I’m eleven,
       Sylvia Rivera was my trans mother. I know what I want.’ I believe, her attitudes are due to her history
       of being misunderstood, coupled with unsatisfying experiences, rather than due to financial distress.

                On the basis of having examined Mariah Lopez, reviewing the above materials and my
       professional experience, I am of the opinion that Mariah Lopez has suffered an ongoing socially-
       disabling condition primarily as a result of her Gender Identity Disorder, accompanied by atypical
       anxiety, Borderline Personality Disorder, since the mid 1990’s, and more recently, posttraumatic
                                                                 —




       stress disorder, and chronic depression. To explain:

       DIAGNOSTICS

                 By history, since 1988, Mariah Lopez has suffered from the pain and the stress related to four
       serious  conditions:  Gender identity Disorder (QSM IV 302.85), Generalized Anxiety Disorder (QM IV
       300.02), Dissociative Disorder, specifically Depersonalization Disorder (QM IV 300.06), Dysthymic
       Disorder with atypical features (DSM IV 300.4), Borderline Personality Disorder (DSM IV 301.83), and
       more recently since the mid 1990’s, Posttraumatic Stress Disorder (DSM IV 309.81) and chronic
                                     —



       depression. Early childhood gender conflict was noted in the medical records of BrianfMariah’s
       pediatrician who, as a result of concerns about early effeminateness and of being caught using magic
       marker for makeup, referred him/her for weekly therapy to the childhood gender program at Rooseveit
       St. Lukes Hospital. Patient reports being followed weekly from ages 3-6,

                Historically, and most recentiy, there are no medical psychotherapy treatment documents
       concerningthis patient’s gender dysphorla, no knownwritten records—otherthan medical records of
       psychiatrist Lawrence Sheff, M.D., and the requested written report from Dr. Katherine Racklin (2004).

                This patient had received medication for both symptoms and the diagnosed conditions—
       hormones for GID and antidepressant for PSD insomnia aid interrupted sleep. Hormones are
       successful in addressing gender relief, adding to the original impetus for her medical stabilization.
       Other medication, while initially reported as providing some relief from the patient feeling immobilized
       and nonfunctional, are reported to be of little relief from the overwhelming fears experienced currently.
       Available documentation reflects that this patient has continued life in a chrohic state of impulse control
       behaviors, apparent discrimination and without question whatsoever, this individual has suffered with
       Gender Identity Disorder, Early Childhood Onset.


                GENDER IDENTflY DISORDERS                —   STANDARD ORCARE


                 Standard of Care. The standard of care in evaluating an individual for any gender condition
       involves interviewing the patient and obtaining information from agencies in charge, family members,
       friends, previous pertinent medicai treatments, and other sources if possible with the patient’s consent.
       Diagnostic evaluation clinically focuses primarily on psychosexual and social development, psychiatric
       history and current mental status. No specialized tests exist that can assist with differential diagnosis.
       Additionaliy, the presence of co morbid diagnoses1 needs to be assessed. As my colleagues and I
       have written in the chapter “Gender identity Disorders” in Treatment of Psychiatric Disorders (Vol. 2)
       edited by Glen 0. Gabbard, M.D. and published by the American Psychiatric Association in 1995,
       “Although histories of psychiatric treatments for substance abuse, adjustment disorders, serious
       suicidal thoughts, and depression are not uncommon in gender dysphoric patients, there is no
       evidence of a frequent occurrence of co morbidity, making comparison with estimates in the general
       population meaningless. Many of these disorders are defense mechanisms against the

        Axis I psychiatric symptoms, as anxiety disorders, dissociation, schizophrenia, mccd and other psychotic
       disorders (e.g., paranoia), plus Axis U personality disorders as borderline, avoidant, narcissistic, obsessive-
       compulsive, etc.
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    frustration, psychological pain, anxiety, and discrimination stemming from patients’ inability to
    live safely and comfortably in society with their condition or in their desired gender roles.”

               A clinical picture emerges when a person’s concerns and uncertainties, distress and questions
    about their gender identity continue and they remain feeling conflicted,2 Gender conflicted or
    dissatisfied people are tliagnosed as suffering from a gender identity disorder when they meet specified
    criteria in one of two official diagnostic sources Diagnostic and Statistical Manual of Mental Disorders
                                                     —



    — Fourth Edition (DSM-IV) or the International Classification of Diseases 10 (lCD-I 0). For example,
                                                                                —



    DSM IV 302.85 Gender Identity Disorder (GID) in adolescents or adults diagnostic criteria includes: a
    strong and persistent cross-gender identification;3 and persistent discomfort with one’s sex, or sense of
    inappropriateness in the gender role of that sex4; absence ci physical intersex condition; and
    disturbance causes clinically significant distress or impairment in social, occupational, or other
    important areas of functioning.

             While a clinician can help a person to understand their symptoms and dilemmas as a gender
    condition, most people seeking help for Gender Identity Disorders come ‘self-diagnosed’ in that they
    bring their diagnosis to the clinician. In diagnostics and treatment, there are many patients seeking
    treatments, both psychotherapeutic and endoorinological, for social— rather than genital sex  —



    reassignment. Surgery as a treatment modality has yet to be fully examined by this patient In
    psychotherapy treatment.

              Further, the Harry Benjamin International Gender Dysphoria Association’s “Standards of Care”
    (original document 1977, revised publications 1978, 1979, 1980, 1981, 1985, 1990, 2001) articulate
    professional consensus about the psychiatric, psychological, medical and surgical management of GID.
    Clinicians use these guidelines to understand the range of assistance needed for gender patients.
    There are five elements of clinical work: diagnostic assessment, psychotherapy, real life experience,
    hormonal therapy, and surgical therapy. People with gender distress, and others (i.e., families,
    employers and social Institutions) may use the SOC to better understand treatment possibilities and
    professional thinking. Treatment goals include learning a prolonged personal comfort with one’s
    gender identity and expression to maximize overall psychological well being and self-fulfillment. The
    SOC are intended to provide flexible directions for treatment of GID. Clinical departures from these
    guidelines are appropriate in light of a patient’s unique psychological, social, or anatomical needs, as
    well as the development of an experienced professional’s method of handling a common situation, or
    due specifically to a research protocol. Such departures should be recognized, explained to the
    patient, documented both for legal protection and for short and long term results.

              1.)      All medical records reviewed corn plied with the standard for the evaluation of gender
    identity disorders along with co morbid diagnoses in the initial intake and assessment (2005) of Mariah
    Lopez. The techniques of assessment for diagnoses and course of treatment is identified to include
    interviewing, psychiatric history and past hospitalizations, medications including self-medications,
    suicidal interest and attempts, personal observation of the individual, contact with foster care
    authorities, representative authorities at Lawyers for Children, and review of other records, when
    available. The medical records indicate that the following were considered: depression, chronic
    physical illness, a history of hospitalization for depression, gender issues includIng the patient’s goal of
    transitioning on female hormones, the patient’s support network extended family, friends, treatment
                                                                        —




    2
      Emotional struggles are known clinically as: gender issues, a gender problem, a gender concern, gender
    distress, gender dysphoris, gender identity problem, cross dressing, transvestism, transgenderism, or
    transsexualism. They are expressed throughout one’s lifetime from childhood into old age in various
                                                                    —
                                                                                                   —




    degrees of dissatisfaction with sexual anatomy, gender body characteristics, gender roles, gender identity,
    as well as the perceptions of others,
      Symptoms may include a stated desire to be, frequent passing as, desire to live or be treated as, or the
    conviction that one has the typical feelings and reactions of, the other sex.
    ‘
      Symptoms may include a pre-occupation with getting i’id of primary and secondary sex characteristics
    (e.g. request for hormones, surgery, or other procedures to physically alter sexual characteristics to simulate
    the other sex) or belief that he or she was born the wrong sex.
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   providers, suicidal ideation, and an assessment of risk of mental stability in the decision concerning
   diagnoses. Documentation of the presenting problem and the patient’s chief complaint is “I’ve been
   trying to get my surgery since last year. I have no gender identity issues. I know who I am.

                       Records all concluded that Mariah Lopez has suffered from recurrent and severe
   major depressive disorder, generalized anxiety disorder, gender identity disorder, and while reporting
   desire to not live in the past, Mariah does not particularly pose a risk for suicide in the near future.

                       Current indications recommend short-term psychotherapy sessions specifically and
   conclusively in preparation for genital restructuring surgery, and postoperative therapy during the first
   year to facilitate adjustments to the changes this unique path of psychosocial and sexual development
   entail. Ancillary issues, Le., impulse controls, can clearly be addressed in psychotherapy at a later time
   post-op surgery.

    •      2.)       My diagnostic evaluation and records, as well as this report, repeat again the factors
   comprising clinical formulation and course of treatment, and continues to document assessment in
   supportive correspondence for thIs patient. There appears to beno organicity (brain condition affecting
   psychological problems).

             3.)      Written correspondence from Mariah Lopez about her life disclosing the history of her
   gender dysphoric struggles, her heightened anxiety about gender expression, her inabilities to deal
   effectively with other’s reactions to her transgender feelings, presentation and expressions in her youth,
   and her guilt. The Gender Identity Disorder turmoil clearly began long before admission into foster care
   and before beginning treatment with any practitioners during adolescence.

             Mariah Lopez reports sustained cross 9ender identification desires, interests and Incidences,
    and the torment that accompanied throughout childhood and puberty stating, “No one ever
    acknowledged my gender condition no mental health worker, nobody.” Maria Lopez reports her
                                         —




    gender dysphoria escalating in feelings of despair, desiring to be a part of girl/womanhood, to have
    acceptance by others for who she is, and continuing to keep her preferred gender secret by hiding in
    her Inabilities to apply herself educationally and work hard.

             This health care practitioner’s assessment confirms the clinical picture assessed early on
    concerning Mariah Lopez’s history of Gender Identity Disorder, inability to deal with her trangenderism,
    uncontrolled feelings of guilt and fear, chronic depression and endless experiences of running away
    from living conditions of peer torment and unaccepting adults, and need for treatment with a specialist
    in gender identity disorders.

              In essence, historically, few have carried out many of the responsibilities of the mental health
    professional in their work with Mariah Lopez as regards her gender distress. She would have benefited
    greatly from a specialist over the past five years.

              4.)      The medical records reviewed comply with an acceptable clinical standard for record
    keeping of medical treatment with Mariah Lopez. While note taking and record keepIng can vary widely
    among clinicians from brief cryptic codes to voluminous descriptions, most of these records and notes,
    along with various correspondence in support of GID treatment modalities, help document the course
    of treatment to lower this patient’s anxiety, mood swings related to Gender identity Disorder, her
    feelings of hopelessness and helplessness and her preoccupation and obsessive thinking about her
    focus on SRS. Prior to the mid-i 990s, by history, this patient’s diagnostics are confirmed. All records
    confirm this individual’s lack of conflict and confusion concerning acceptance of his/her own gender
    identity condition.

                       As my colleagues and I further point out in our medical treatment chapter for gender
    identity disorders, “one option not open to patients is the option to do nothing about their gender.
    condition, because such an attitude can only have disastrous consequences. Suppression and
    repression causes depression and are always immobilizing and sometimes fatal. Sadly, suicide
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                 attempts are not unknown for those who live their lives immersed in feelings of helplessness and
                 hopelessness. To ignore totally ones gender or ones inner awareness of it a fundamental aspect of
                                                                                                  —


                 the human personality Is, in and of Itself, a form of gender suicide
                                         —




                        5.)       This patient’s story is replete with references to Mariah’s response to gender identity
                issues and her overwhelming fear of disclosure with her grandmother and mother, with childhood
                playmates, later with places of work and her anxiety and frustration at having to deal with attempting to
                complete an education process and find meaningful work.

                         6.)     There is no risk of suicide currently. Risk, however, would increase if the patient were
                re-incarcerated. Mariah Lopez states, “I thought about suicide andattempted It       my fantasy was
                always a way out I could just go to sleep and just never wake up. I never had the sense of killing
                                    —



                myself.” Mariah denies any history of overt mutilation behaviors. Body markings include a best friend’s
                name, “Junior” tattooed center rear neck. (The same friend has “Mariah’ tattooed center rear neck.)
                                —




                         I concur with the patient, Mariah Lopez, concerning diagnostics, appropriate treatment
                modalities, including genital reassignment surgery. Again, I do not concur with the patient’s dismissal
                of the importance of psychotherapy treatment.

                        In concluding this segment, documentation reviewed has complied with the standard of care in
                the assessment and adequate treatment of Mariah Lopez’s Gender Identity Disorder, along with co
                morbid diagnoses, her mental status, with limited suicide potential, and life experiences. However, no
                one has carried out many of the responsIbilities of the mental health professional (as listed in the
V
                HBIGDA’s Standards of Care) in their treatment/work with Mariah Lopez over the course of the past six                 V




                years thus exacerbating her mental stability and emotional well-being.
                       —




                MEDICATIONS

                         Endocrine medications include Estradiol 2,0 mg. tabl., twice daily by mouth; Spironolactone
                100 mg tab., one twice daily by mouth; Estradiol Cypionate injectible solution (aka DepoEstradiol) 5.0
                mg per ml strength, 1.0 ml intramuscularly bimonthly. The patient reports being prescribed SmValium.
                Antidepressant prescribed is Trazadone. [There is a history of etensive experience with the known
                street drugs recreationally.)                         V




                SUM NATIVE OVERVIEW
                                                                  V




                                    Family History: Youth reports being raised “Hispanic” by a maternal grandmother,
                Loraine Lopez who had custody as the mother was a drug addict who had abandoned family life
    V           Marish (ages 5-8) knew her mother only three years before she died of AIDS in 1993. The                           V




                grandmother suffered from asthma, obesity, and was disabled. As the grandmother was unable to take
                care of Clayton and Mariah (Brian), the two siblings were placed into Foster care. Her death in 1997 (at
        V




                age 48) secured Mariah as a ward of the State. Youth reports her parents being “victim’s of their            V




                                                                                                                                      V


                time...... 1985 crack and heroin were a norm for street teenagers I’m the result of ‘a one night stand.
                My biological father never had custody of me, only my half brother, Clayton, who is three years older.”
                Mariah claims her religious grandmother was protective of her gender expressions and completely
                supportive, finding her the care needed. She reports a happy upbringing, living In the projects, with no
                difficulty playing double Dutch with both boys and girls and being totally accepted. Grandmother’s
                name of endearment for Mariah was “Bree-Bree.”

                                   Early Childhood and Adolescent History: First cross gender thinking Is reported at
                age 3 “I liked to be like a girl. I peed sitting on the toilet. I thought I was a girl... .always effeminate. I
                      —



                truly believed I could decide my gender. In my youth, I always wondered if I was gay, but it didn’t fit. I
                didn’t know about trans. The gay thing didn’t fit but I like companionship. The concept of transcending
                gender was beyond my recognition. By seven or eight, .1 realized I wasn’t a girl I was severely
                depressed, frustration and hopeless feelings overcame me. Discovering you are trans is enough, but
                feeling trapped no options, I was horrified.” Cross-dressing did not begin until teenage years, with
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                                                                                                  dT6


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   Interest early on restricted to articles of her grandmother’s clothing, No one was aware of this behavior.
    Childhood playmate preference included both genders, youth believing that she could eventually will
   her own gender in time. Toy preference Included coloring books in pastels, dolls, jump rope and
   double Dutch; never sports or rough end tumble play, Clothing and hairstyles were typical for a young
   boy until age 13 when “I was introduced to the transgender community In the Village and saw myfirst
   fern queen. I let my hair grow and got into trouble for It.” Activity preferences centered on dancing (tap)
   and acting with patient’s report of a longstanding history of discrimination and punishment due to trans
   interests. Rough and tumble play, by report, were never engaged in, short of self-defense, Satisfaction
   with physical characteristics is reported as completely satisfied today ince hormone treatment, with the
   exception of anticipated genital surgery. Energy expenditure is viewed and interpreted by youth as
   focused on human rights (especially her own). Youth reports feeling the most comfortable and very
   accepted in femaleness. She confirms, “No one’s going to believe I’m not a girl. I’m accepted
   everywhere. No one even knows, except those who knowmy past.” ldentiñ’cation figures are other
   transgender individuals, trans people who are successful drag performers, movie stars as Jennifer
   Lopez. Relationship with deceased mother; deceased grandmother; father; and uncle is reported as no
   relationship with the mother, a loving close relationship with the grandmother, a new effort at
   connection with the father who is fully accepting of her condition, and protective uncle unknown. First
   notion of being different is initially identified In childhood but confirmed by age 13. First conscious
   cross-gender feeling is reported at age 3. Reaction of environment to perceive sissy-ness is reported
   as torment, name-calling (“Fagot” being the word that sends youth into rage), fighting with peers, home
   discipline, and ultimate withdrawal at onset of puberty. Emotional reaction of individual to maturation of
   body was to prevent onset of secondary sex characteristic by “getting on street hormones by age 13”
   before puberty began. Attempts to hide sex characteristics or harm them were denied with the
   exception of ages 13-14, “the most difficult year of my life,” and currently, hormone atrophy negates the
   necessity of “tucking” genitalia.

                      Sexual Orientation: Mariah sees herself as exclusively heterosexual; she reports
   only thinking of self as female with either bisexual or heterosexual men. She reports having no erotic
   experience with females the Idea of having sex with females whIle being male is too uncomfortable.
                             —




                      Sexual Activity: Sexual play or penetration with females is reported as “NEVER!”
   First sex with a male partner, youth was 12, the partner 14, included kissing, genital fondling, without
   intercourse. First oral-genital contact and anal penetration were experienced at age 13, reported with
   erotic satisfaction.

                      Sex Industry Worker: Youth reports an extensive history in prostitution, beginning at
   age 13 on the Strole in midtown Manhattan, and includes being paid for pornography. Youth’s rap
   sheet confirms arrests and incarcerations in this regard When asked about practicing safe sex youth
   states, “It was easy money. I’ve been a good judge of character but without my training in AIDS and
   drug use, I would probably be HIV positive, It’s teaches me a lot.about sexuality and the roles played in
   erotic interest on the streets.” Highest fees paid at any one time are reported as $3,000,

                     Significant Primary Relationship: Two long-term primary love connections are
   reported, both with heterosexual males. The current partner is incarcerated upstate for the foreseeable
   future.

                     Friends: All current friends are reported as being transgender people.

                    Endocrine History: By age 13, youth reports inconsistent use of birth control pills
   purchased on the streets; by 16 youth was treated with Premarin in the West Village by Dr. Taviano, at
   17 through a health clinic with anti androgens, and has been followed since age 18 by Michael K.
   Bartalos, M.D.

                    Other Feminizing Procedures: No known silicone procedures have been
   administered, No orchiectomy confirmed by Dr. Arnold Melman’s report. Youth discusses her interest
   to consider adding breast augmentation.
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                       Surgical Restructuring of Genitalia: In response to being asked what would she do
    if she could not have genital restructuring surgery, youth responds, Hits something that must be
    corrected. I could not live., my life would not be right. At 14, I was saying if I don’t get surgery, I just
    don’t know what will happen to me. I can’t explain how horrifying it is let me die a woman.. ..it’s like
    sitting on death row, without clemency. I’ve been actively trying to get the surgery for over two years.”

                      Influence of TransgenderlTranssexual Community: By age 13, youth was
    introduced to the TG/TS scene in Manhattan. The influence of exposure to the community was
    enormous on this young person’s psychosocial development.

                      Current Gender Identity: Youth says “I’m 2417 a girl. I know that I’m transgender.
    But I’ve believed myself to be female and since learning that surgery is possible, I need it to be correct.

                      Rellgioüs or Spiritual EnlightenmenUlnterest: Youth reports a history of Sunday
    school religious upbringing while her grandmother was alive, but claims no faith, but is spiritual.

                      Sex Partner Attraction: Youth is attracted to male partners accepting of her as
    female.

                      Recreational Drug Use: Youth has extensive history of recreational drug use but
    explains that she fears her ‘mother’s waste of her life.” Current recreational use is reported as pot
    smoking, occasional alcohol, and cigarettes.

                       Self-Mutilation or Suicide Attempts: Youth reports no self-destructive behaviors
    involving cutfing, puncturing, or burning her body. Three suicide attempts are reported, all related to
    feelings of despair not feeling able to live in femaleness, beIng restricted In gender expression, being
    attacked and despondent in recovery.

                       Self-expressed Life Goals: Youth reports wishing to complete her GED and study
    law, ultimately to become a paralegal or lawyer.

                     Persistent Fear: The overwhelming fear currently is reported as on-going nightmares
    concerning re-incarceration and not being successful in getting Sex Reassignment Surgery.


    MENTAL STATUS

             Admittedly,Mariajisabilities to be productive in her life is episodically compromised during the
    period of time she has been it ttáhsition and leading an unsettled life. In the course of overwhelming
    gender dysphoric collapse, a major depression and anxiety attacks elevated causing great stress in alt
    of her daily functions. She reports, “I had horrible issues with my gender because I felt false identifying
    as male.” Initially, this dilemma was brought on by intense feelings of feat that she would never be
    given opportunity in life to be interacted with as female and be able to secure work as a female.

              Although extraordinarily bright, street-smart, aggressive and demanding, a non-compliant
    patient frequently during the period I have known her, a series of distressing events, coupled with an
    unsuspected and sudden collapse of a trusted relationship (with her boyfriend’s formerly supportive
    parents) that was completely trustworthy and cost her Immeasurably In emotional investment and time
    exacerbated all of Mariah’s cumulative fears. Her most recent incident in incarceration catapulted her
    deeper into anxiety and depression.

             Subsequently, Posttraumatic Stress Disorder was shortly diagnosed after suffering a major
    panic attack. Mariah reports, ‘9 still have flashbacks. I have endured a lot of verbal and physical abuse.
    My daily function problems have left me so greatly hampered, I just shut down, feeling totally
   abandoned and lost, helpless and hopeless. I just don’t know what will happen to me If I go back to
   jail,”
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               In the course of Mariah Lopez’s psychotherapy assessment over the past few months, the
    interactions and treatment has demonstrated little improvement for her to be able to address her
    difficulties with pro-action and resolve, This leaves Mariah with a somewhat desperate perception
    about what the future might hold for her and her ability to take care of herself. Mariah Lopez has never
    worked at a fixed job, because of a number of factors, not excluding depression and anxiety attacks,
    accompanied by the genderfeelings of weakness and hopelessness, in addition to the physical
    deterioration in health resulting from chronic fatigue due to nightmares.

             On review of Mariah Lopez’s Mental Status:

             Attitude, Appearance, Behavior:

              Mariah Lopez is of average height (5’ 7”) and slightly over-weight (175 lbs.), naturally thick in
    the torso with shoulder length straightened blaök hair (which she covers with a bandana or head wrap),
    who has genetic male phenotype, maximal facial features and bone structure mote female prominent,
    and makes a presentable appearance dressed casually in clothes typical of her age group. Although
    Mariahs life and well-being had been threatened in the past while dressing in female attire publicly,
    today she is careful about how she presents herself in my offices with neatness, cleanliness and a
                                                                        —



    determination that her clothing is appropriate for the environment she expects to be in. She has a good
    attitude that she cannot always fulfill, In that she expresses an interest to fit in wherever she is. Mariah
    is clear spoken, not at all shy, outgoing and engaging if she believes she can trust the situation and is In
    competent care; she clearly in not always effective in speaking up in her own defense either out of
    naivety, inexperience or a sense of misinterpretation of intent. Meriah is highly suspicious and guarded
    and, I sense a desperate internal need to be unnecessarily demanding. This affect, however, can
    leave Mariah confused, frustrated and dissatisfied with her own efforts, as well as the efforts of others,
    that exacerbates her disabling personality characteristics. This patient is non compliant with and
    although requesting prescriptive meds, states she does not believe in the usefulness of any
    psychotropic medications that have been prescribed thus far, except anti-anxiety prescriptions.
    However, of note, is an extensive history of recreational and abusive drug use.

             Speech, Thought, Perception:

              The way/manner in vihich Mariah Lopez expresses herself is today primarily truthful, direct and
    somewhat driven by desperation, but unfortunately, her manner of engaging with others dlearly has not
    allowed her to be understood by others and has put her at risk to be completely mistreated.
    Consequently, she has been left feeling unclear, suspicious and agitated with some of her encounters.
    Previously her mood tended to be somewhat erratic because she is very influenoed by what appears
    to be the response she gets from the outside world; and, like many people with GID and anxiety
    symptoms, she assumes that other people are much more critical and concerned than they actually
    are. As might be assumed, Mariah’s concentration while having been somewhat impaired, appears
    today to not be limited; however, she has suffered from a long-standing pattern of interpersonal
    rejection sensitivity that has resulted in significant social and I suspect, perhaps some occupational
    impairment. Confounding the circumstances is the observation that Mariah presents as a highly
    manipulative individual frequently in her interactions with others, Mariah appears highly intelligent and
    articulates accurately at a rapid rate, but due to her swings in anxiety symptoms and other distracting
    and disabling interference’s in her life, she cannot put to use the mental strengths that she has to aid
    her in her best interest.

             Sensorial and lntellectual Functions:

             - Attention and Concentration: Mariah’s orientation is quite adept, and she definitely knows
    where she Is emotionally, what her goals are, the sequencing of daily task-related responsibilities, what
    the date is and why she is in appointments. I believe that she would remain interactive in treatment fat
    more so than she has been in the past, if it was focused primarily on Gender Identity Disorders issues.
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               -Memory: Marish’s memory has in the past frequently failed her because in depression,
    coupled with the unsettling living experiences she had while male, she could not be sure if what she
    remembered was accurate, Although today, she appears to have good retentive process, exacerbation
    of multiple disabling psychiatric conditions can be expected to interfere with memory.

               Information: Mariah is very good about keeping track of appointments and certainly knows
               -




   why her health care providers were treating her. She has so often been devastated by the Inability to
   act on what she knows and felt to be important and imperative to her own well being. She appears to
   be more cognizant and stable today than In the past, While her ability to perform calculations is not
   limited, she is not as proficient at integrating herself comfortably in living a life of constructive well-being.

           - Insight and Judgment: Mariah’s capacity for insight is good and, like so many other people
   with gender identity conditions, she has the ability to get to the “heart of the matter;” but she is impaired
   in her use of constructive insight, because she does not feel that she fits into the life around her. To
   explain this further, when Mariah knows she is truthful, she cannot always understand why this does
   not give her universal acceptance.

               Current Functional Assessment:

             Mariah Lopez satisfactorily takes care of her daily living needs through the foster care program
   in New York City. She lives alone in an apartment in a house, primarily due to her preop status as a
   transgender youth. She reports being lackadaisical in being able to maintain her residence in an
   orderly fashion and admits to being sloppy about waste disposal habits. She is perfectly capable of
   being able to shop both within and outside of her neighborhood according to available financial support
   and need; she reports enjoying light cooking at home and is highly competent and comfortable In taking
   public transportation. She appears devoid of social phobias. She has maintained a few close friends
   (trans and industry workers) for ocial support and who can be called upon if an emergency arises.
   She is able to enjoy very light reading and selective television programs, and likes to keep up with
   whats happening in specific activist groups in the Metropolitan area, even though she does not always
   understand the why’s and where fore’s. She clearly is liberal but her true political interests, beyond her
   own goals, are unknown to me.

             To my knowledge, Mariah has never been gainfully employed to date. She states that she has
   been exploring work possibilities, including researching and working on writing a book and being a
   spokesperson for human rights causes. However, currently she clearly is less equipped to be able to
   deal with levels of physical stress that can be naturally associated with being arrested as a transgender
   person, a long standing history of being discriminated against because she is transgender, coupled
   with the panic and despair she clearly feels fearing the possibility of incarceration again However
   beyond key individuals whose connection with Maniah is protection and support (i.e., caseworkers and
   health care providers in various agencies, physicians, and lawyers), Mariah has yet to be able to
   establish herself with strong stable allies In her life and her network of support. She reports being
   restricted in her personal resources

            In terms of getting along with others, especially peers, trans community contacts,
   professionals, etc., I do believe Mariah has been too overbearing and demanding in her interactions
   with others, revealing her fragile ego strength to be able to cope with the kind of demands or
   expectations placed on her in mainstream life. This aspect of her emotional development clearly has
   not shown progress In the past or currently for that matter, as credibility and trust were lacking both in
   her makeup and in the circumstances.


   PSYCHIATRIC SUMMARY

             In my opinion, Mariah Lopez’s abilities to do work related mental activities and to live her life
   productively, with knowledge and understandIng, and in personally secure and stable ways has been
   significantly impaired due to her transgender condition and other diagnoses.
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                In the course of her contact with me in assessment for the preparation of this evaluation, while
      knowledgeable about her early years and life In foster care, Marlah has not sufficiently been able to
      unravel the influences on her life from an early childhood raised In a lower-class Catholic-highly
      religious family, through establishing herself [educationally/academically and professionally in life], and
      beyond the loss of family. At this point, in light of the subsequent relapses, I believe Marlah Lopez has
      felt pushed to her very limits just to survive, She has been treated for depression anxiety and while no
      longer considered a suicidal risk, she has not recovered from the cumulative debilitating events and
      symptoms that created psychiatric collapse for her years ago. Simply stated, she just keeps reliving it.
      As a result, she finds it impossible to engage in any meaningful work due to her conditions and
      expected discrimination from the world,

               However, Mariah Lopez remains episodically optimistic but fearful about her future.


      CONCLUSIONS AND RECOMMENDATIONS

                 While presenting some unique aspects, in most respects, Mariah Lopez’s psychosexual and
      social history is that characteristic of male-to-female transgender people. She fully meets the primary
      DSM-IV criteria for Gender Identity Disorders in that: while she is a bit uncomfortable with her male
      genitalia (although uses it in erotic interaction), she has been uncomfortable with her masculine
      anatomic sex; she does wishes to have her genitalia restructured to conform with her inner female
      gender identity; and she does wish to continue to live her life as a young woman; she has felt this way
      since both early childhood and adolescence; she shows no evidence of physical intersex; and this
      condition is not due to any mental disorder or exacerbated neurosis of any determinable kInd. Mariah,
      while still filled with anxiety and financial concerns related to her being able to acquire the long
      requested SRS, she remains somewhat unstable and unclear about how she can live her life, Her
      romantic interests and experiences have been somewhat unrealistic and she in femaleness has been
      exclusively heterosexual, while depending on her close friendships primarily with women for support in
      the past few years.

                On interview, Mariah Lopez presents most comfortably as a harried, almost manic, quite
      intelligent and I suspect creative, very purposeful, and an authentic female. There is no evidence of
      thought disorder, active psychosis or affective disorder, gross cognitive deficit or impairment of
      judgment or insight concerning the need for genital reassignment surgery. She is quite literal in her
      interpretaticn of her own presentation and her dreams and expectations for her future. Her deepest
      fear is twofold: false accusations, arrest and not being able to survive incarceration, and not being able
      to get her desired surgery soon.

                Mariah’s personality is defined and, over the brief but intense course of my knowing her, she is
      in the process of coming full circle In understanding her options for living a female life and for surgical
      intervention, Marlah has grown in her trust with me and expresses her feelings and fears about the
      future with openness and hopefulness. Emotionally, Mariah has yet to truly develop her own
      acceptance of herself in her genuine female gender. This is a dynamic rapidly acquired postop when
      the alteration of body phenotype and life experiences confirm acceptance.

                The hope for the future is that Mariah becomes even more orderly in how she prepares for her
      decisions and plans for living her life In the years ahead. She certainly has accomplished finding the
      correct medical treatments that enable her to proceed as she has for many years imagined or wished
      for since very young and she continues to prepare herself for living a life worthwhile and beneficial i
      her. Her emotional wellbeing and success is dependent on her current source of support is predicated
      by financial necessity of allocating the required monies to pay for expensive medical treatments in
      gender confirmation. But it is my hope for her that moving from rio to low-paying work to more
      profitable employment will secure her in the years ahead. She is bright and driven in her desire to
      survive, and while she does not always conduct her life with careful precautions, she certainly does
      have tenacity, and in time, with the needed emotional detachments. She is street industry-smart, and
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    sexually informed (but not always wise) and lacks prudence In some decision-making when under
    stress.

               Mariah seems clearly much happier and more comfortable living as she is in femaleness than
    as a male even with all of the challenges she has faced and problems she has had to resolve. Thus
    far, I do feel that Marlah has undergone many decisions toward treating her gender identity condition
    and learning how to live with It with the type of insight unique to her life experiences, and with less
    emotional difficulty within herself personally. She has appeared to proceed as carefully as one can with
    limited resources and displays a confidence about the process of her gender transition that I feel
    assured will continue to sustain her as she seeks survival currently, and throughout her life. Mariah
    knows she can continue to count on insightful help from her agency contacts, me1 as well as others she
    sees, as she continues grappling with the foreseeable and potential concerns. Those concerns
    include: enhancing or changing work focus, dealing with discrimination, dating, finding greater
    Intimacy, sexual and emotional fluctuations, the continuation of maturing herself, and ultimately, the
    making of alife-paftrier relationship in the post-operative months and years ahead.
                                          —




             In this regard (and for some additional reasons which Mariah and I have been exploring
    together), I know that Mariah will be far more content and more greatly Integrated as a person, if she
    continues to avail herself of her psychotherapy treatment throughout her first year post-op period.
    There are certain fundamental benefits to the peace and enrichment for the life of a person who
    provides herself with all the unique and rich education that she can acquire through a prolonged
    contact with a therapy specially adapted for this most extraordinary path of psychosexual development
    end Interaction. My recommendation for continued therapy Is twofold: first, to quickly determine In a
    few quick sessions the appropriate surgical technique and surgeon, and second, in order for Marlah to
    insure herself of a life filled with profound self-understanding, responsibility, and security.

                in summary, I believe that Mariah Lopez is a true transgender person (medically known as
    transsexual) who is strongly interested in and in need of the genital restructuring surgery. Without
    question whatsoever, sex reassignmht surgery1
    Mariah is a fully prepared surgical candidate for SRS (genital restructuring surgery), she meets all
    eligibility and readiness crfteria according to the medical guidelines The Standards of Care one
                                                                           —                           --


    could expect, and she expresses being clear about what the surgery can and cannot do for her. I
    believe that this surgery will help Mariah Lopez feel much more comfortable and consonant with her
    predominant inner gender awareness and the public expression of female gender in her life today.

              In Mariah’s own words concerning surgery, “I always felt miscast as a male. As a gay male, I
    believe my difficulty in forming intimate relationships had to do, in part, with wanting to be a woman.
    Existing as a female has given me hope, in regard to formindclbsêr rlátianships, as I have less to
    prove to myself and the world, The intimacy and expression of warmth which society now allows me to
    express has been a happy surprise            I do have some doubts about surgery. But my yearning for
    physical completeness Is very powerful and something I’ve wanted for a long time.”

              I find Mariahs beliefs and expressions of her feelings to be genuine, realistic,honest, and most
    typical of a more evolved M-F transsexual mentality. Mariah and I both feel that her biggest emotional
    growth will transpire post-op.

             I know that Mariah Lopez’s expectations for genital restructuring surgery will help her feel that.
    she can finally completely inhabit her body and that it will help her be more free to be able to relate
                                                  ,..



    to people and to have them in her life socially, as well as, both romantically and sexually. I feel that the
    sexual reassignment surgery Mariah seeks is fully indicated in light of her history, her presentation and
    her potential success in the real life experience thus far. She is seeking both vaginoplasty and
    labiaplasty as soon as funding is available.

             I consider it a privilege to be in contadt with all those individuals Mariah Lopez is in the care of,
    and I’m looking forward to hearing your impressions and the disposition of this urgent matter. If I may
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    be of further service, please feel free to contact me at any time. With deep appreciation fot the
    opportunity to evaluate a person ci the caliber of Mariah Lopez, am,


                                               Very truly yours,




                                               C. Christine Wheeler, Ph.D,
                                               PsychotherapistJSexologist
                                               No. 1971 Explr. 12-31-07
                                               Board Member, The Harry Benjamin
                                               International Gender Dysphorla Assoc., Inc.




    Initial draft June 6, 2005

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            A Form of Gender Discrimination Prohibited by
            The New York City Human Rights Law
            Title 8 of the Administrative Code of the
            City of New York




                        NEW YORK CITY COMMISSION ON HUMAN RIGHTS
                   MICHAEL R. BLOOMRERG, Mayor PATRICIA C. GATLING, Commissioner/Chair
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             CONTENTS
             I. Purpose
             II. Definitions
                 A. Gender Identity/Gender Expression
               B. Transgender
               C. Intersex Individuals

             Ill. Areas of Application
               A. Employment
               B. Public Accommodations
               C. Housing & Lending Institutions
               U. Discriminatory Harassment or Violence
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             IV. Avoiding Discriminatory Practices
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               D. Public Accommodations/Unavoidable Nudity
               E. Policy/Training

             V. Enforcement and Penalties
             Appendix
              Local Law 3


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             The Commission on Human Rights thanks the following individuals fbr their
             assistance in the creation of these guidelines: Randolph Wills, Matt Porcman,
             Michael Silverman, Carrie Davis, Pauline Park, Melissa Sklarz, Dean Spade,
                                                                                         and
             Moonhawk Stone.


             If you have been discriminated against, call to set up an intake appointment
             and speak to an attorney at the Commission: (212) 306—7450.
             New York City Commission on Human Rights
             40 Rector Street, New York, NY 10006
             December 2006



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            GUIDELINES REGARDING


           CEN AER
            IDENTITY
           DISCRIMINATION
           I. Purpose                                 • ‘l’o inform individuals of their
                                                        rights under the Jaw; and,
           In April 2002, the New York City           • To assist employers,
           Human Rights Law, located in                 housing providers, businesses,
           Title S of the Administrative Code           organizations, service providers
           of the City of New York, was                 (including government) and
           amended to make it clear that an             other entities in understanding
           individual’s gender identity is an           their responsibilities under
           area of protection under the Law’.           the Lass
           Ills the law and policy of the             ‘ihese guidelines do not constitute
           City of New York to eliminate              legal advice and do not cover every
           discrimination based upon                  aspect of the Law. For specilic
           an individual’s “actual or                 questions regarding the coverage
           perceived gender.”                         of the Human Rights Law, see
                                                      the Administrative Code ofihe City
           “Gender” is defined in the City’s
                                                      of New York, contact the New
           Human Rights Law to include:
                                                      York Cii)’ Commission on Human
           • actual or perceived sex;                 Rights, or seek legal counsel.
           • gender identity;
             self-image;                              Ii. Definitions
             appearance; and,                         A. Gender Identity/Gender
           • behavior or expression, whether          Expression
             or not that gender identity,
             self-image, appearance, behavior         Gender identity is an individual’s
             or expression is different from          sense of being either male or
             that traditionally associated with       female, man or woman, or
             the legal sex assigned to an             something other or in-between.
             individual at birth.                     Gender expression describes the
           ‘lhe Human Rights Commission               external characteristics and
           developed these guidelines:                behaviors that are socially defined
                                                      as either masculine or feminine,
           • ‘lb educate the public about
                                                      such as dress, mannerisms, speech
             the prohibition of gender
                                                      patterns and social interactions.
             discrimination, particularly
             as it protects transgender               B. Transgender
             and gender-variant people
             in New York City;                        “Transgender” is an umbrella
                                                      term that includes anyone whose

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            GUIDELINES REGARDING CENDF WENfiTY rnsCrnMNtT1ON
            gender identity and/or gender           different individuals have a gender
            expression does not match society’s     identity and/or gender expression
            expectations of how an individual       that is not completely ma]e or
            who was assigned a particular           female. This includes individuals
            sex at birth should behave in           who do not conform to expectations
            relation to their gender. The term      of a specific gender role and
            includes, but is not liniited to:       individuals who express both
            • pre-operative, post-operative and     masculine and feminine qualities.
              non-operative transsexuals ‘ho        ‘rhese individuals are sometimes
              may or may not use hormones;          referred to as “androgynous”
            • intersex individuals;                  C. Intersex Individuals
            • persons exhibiting gender
                                                    Intersex individuals are born with
              characteristics and identities that
                                                    chromosomes, external genitalia,
              are perceived to be inconsistent
              with their gender at birth;           and/or an internal reproductive
                                                    system that varies from what is
            • persons perceived to he
                                                    considered “standard” for either
              androgynous;
                                                    males or females.
            • transvestites;
            • cross-dressers; and,                   Ill. Areas of Application
            • drag queens or kings.
                                                     A. Employment
            1. Transsexuals                          (AUme,istrative Code: Section 8-107(1))

            Transsexuals are individuals             It is an unlawful discriminatory
            whose gender expression or               practice for an employer, or an
            identity is perceived to conflict        employee or agent thereol to
            with the sex assigned to them            discriminate against any employee
            at birth, and who may or may not         or applicant for employment based
            begin or continue the process            upon actual or perceived gender
            of hormone replacement therapy           (including the individual’s actual
            and/or gender confirmation               or perceived sex, gender identity,
            surgery. Transsexuals are often          self-image, appearance, behavior
            described as female-to-male              or expression, whether or not that
            (fTM) or male-to-female (MTF).           gender identity, self-image,
                                                     appearance, behavior or expression
            2. Gender Variant,
                                                     is different from that traditionally
            Gender Non-conforming
                                                     associated with the legal sex
            or Gender Different
                                                     assigned to an individual at birth)
            Gender variant, gender                   with regard to recruitment, hi ring,
            non-conforming, or gender                firing, promotions, wages, job


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              GUIDELINES REGARDING CENDER IDENTEf V rnSCR[JDNATWN
           assignments, training, benefits,           the sale, rental or lease of a
           and other terms and conditions             housing accommodation.
           of employment.                             It is an unlawful discriminator’
           B. Public Accommodations                   practice for such persons to
           (Administrative Code: Section 8-107(4))    refuse to sell, rent, lease, approve
           “Public accommodations” refer              the sale, rental or lease or otherwise
           to providers of goods and/or               deny to or withhold a housing
           services to the public. Restaurants,       accommodation or an interest
           hospitals, stores, theaters, and           therein from, or otherwise
           service providers (including               discriminate against any person
           government) are some examples              on the basis of actual or perceived
           of public accommodations.                  gender (including the individual’s
                                                      actual or perceived sex, gender
           It is an unlawful discriminatory
                                                      identity, self-image, appeara nce,
           practice for a place or provider
                                                      behavior or expression, whether or
           of a public accommodation directly
                                                      not that gender identity, self-image,
           or indirectly to refuse, withhold
                                                      appearance, behavior or expression
           from, or deny a person any of the
                                                      is different from that traditionally
           accommodations, advantages,
           facilities, services or privileges of      associated with the legal se
           an accommodation based upon                assigned to an individual at birth).
           the person’s actual or perceived           Real estate brokers, real estate
           gender (including the individual’s         salespersons, employees or agents
           actual or perceived sex, gender            thereof may not discriminate on
           identity, self-image, appearance,          the basis of actual or perceived
           behavior or expression, whether            gender (including the individual’s
           or not that gender identity,               actual or perceived sex, gender
           self-image, appearance, behavior           identity, self-image, appearance,
           or expression is different from            behavior or expression, whether or
           that traditionally associated with         not that gender identity, self-image,
           the legal sex assigned to an               appearance, behavior or expression
           individual at birth).
                                                      is different from that traditionally
           C. Housing & Lending Institutions          associated with the legal sex
           (Adminatrative Code: Section 8-107(5))     assigned to an individual at birth)
           The housing discrimination                 in therental or sale of property.
           provisions apply to the owner,             The prohibited behavior includes
           lessor, managing agent or                  all aspects of real property
           other person having the right to           transactions, such as the refusal to
           sell, rent or lease or approve             show, rent, or sell real property

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             GUIDEUNES REGARDING CENBER UENflTY                      SCMNATWN
            that is available for sale or lease,      behavior or expression, whether
            the addition of different or              or not that gender identity,
            additional terms or conditions in a       self-image, appearance, behavior
            lease or mortgage, and the refusal        or expression is different from
            to provide services or make repairs       that traditionally associated with
            or improvements for any tenant or         the legal sex assigned to an
            lessee.                                   individual at birth).
            Banks and other lending institutions      It is also illegal to knowingly
            may not discriminate against an           deface, damage or destroy the real
            applicant for credit on the basis of      or personal property of any person
            actual or perceived gender                for the purpose of intimidating or
            (including the individual’s actual        interfering with the free exercise
            or perceived sex, gender identity,        or enjoyment of any right or
            self-image, appearance, behavior          privilege secured to the other
            or expression, whether or not that        person by the constitution or laws
            gender identity, self-image,              of this state or by the constitution
            appearance, behavior or expression        or laws of the United States or by
            is different from that traditionally      local law of the city when such
            associated with the legal sex             dclicement, damage or destruction
            assigned to an individual at birth).      of real or personal property is
                                                      motivated in whole or in part by
            D. Civil Action for Discriminatory
            Harassment or Violence                    the victim’s actual or perceived
            fAdminstrative Code: Section 8-602)       gender (including the individual’s
                                                      actual or perceived sex, gender
            It is illegal to interfere by force or
                                                      identity, self-image, appearance,
            threat of force, or knowingly
                                                      behavior or expression, whether or
            injure, intimidate or interfere with,
                                                      not that gender identity, self-image,
            oppress, or threaten any other
                                                      appearance, behavior or expression
            person in the free exercise or
                                                      is different from that traditionally
            enjoyment of any right or privilege
                                                      associated with the legal sex
            secured to him or her by the
                                                      assigned to an individual at birth).
            constitution or laws of this state or
            by the constitution or laws of the        In addition to coming to the
            United States or by local law of the      New York City Commission on
            city when such injury, intimidation,      Human Rights, victims of
            interference, oppression or threat        bias-related harassment or violence
            is motivated in whole or in part by       are encouraged to report the
            the victim’s actual or perceived          incident immediately to the police
            gender (including the individual’s        and/or their County’s District
            actual or perceived sex, gender           Attorney’s Office.
            identity, self-image, appearance,

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              GUIDELINES REGARDING CEN1EI HIENTITY SCRIMPATIN
           E. Retaliation                              titles, pronouns, and other terms
                                                       appropriate to their gender
           It is against the law for an                identity. The refusal to address
           employer, housing provider,                 individuals in a manner appropriate
           lending institution, or provider            to their gender identity is a
           of a public accommodation                   factor that the Commission will
           to retaliate against an individual          consider when determining
           because the individual opposed an           if discrimination exists.
           unlawful discriminatory practice
                                                         in general, individuals in New
           or made a charge, or because the
                                                        York may change their names
           individual testified, assisted, or
                                                        without having to go through a
           participated in an investigation,
                                                        formal legal process, as long as
           proceeding or hearing.
                                                        the new name is used consistently
           IV. Avoiding Discriminatory                  and without intent to defraud
                                                        others. Prefixes such as “Ms.”
           Practices
                                                        and “Mr.” and suffixes such as
           A. Preventing Harassment and                 “Jr.” and “Sr.” do not have legal
           Hostile Environment                          significance.
           Discrimination on the basis of               When an individual is uncertain
           actual or perceived gender                   about which name, pronoun (he!
           (including the individual’s actual           she; him/her) or title (Ms./Miss/
           or perceived sex, gender identity,           Mrs.!Mr.) to use in addressing or
           self-image, appearance, behavior             referring to another individual, it
           or expression, whether or not that           is generally appropriate to ask
           gender identity, self-image,                 the individual.
           appearance, behavior or expression          Requesting proof of an individual’s
           is different from that traditionally        gender, except when legally
           associated with the legal sex               required, challenging an individual’s
           assigned to an individual at birth)         gender, or asking inappropriate
           is a violation of the Human                 questions about intimate details of
           Rights Law, Discrimination may
                                                       an individual’s anatomy, are
           take the form of unwelcome
                                                       factors that the Commission will
           verbal or physical conduct,
                                                       consider when determining if
           including, but not limited to,
                                                       discrimination exists.
           derogatory comments, jokes,
           graffiti, drawings or photographs,          8. Ensuring that Dress
           touching or gestures.                       Codes Allow for Expression
                                                       of Gender Identity
           To avoid the appearance of
           discrimination, individuals should          When developing and enforcing
           be addressed with names,                    dress codes that are gender-specific,

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             GWDELINES REGARDING CENDER             BENflTY WSCRMNAflON
             employers should permit employees       covered entities to provide
             to comply with the gender-specific      accommodations to individuals
             provisions in the codes in an           who have concerns about use
             appropriate manner that is              of public restrooms because of
             consistent with their gender            gender identity or gender expression.
             identity and gender expression.         Such accommodations could
             C. Providing Access to                  include, for example, offering the
             Restrooms and Other                     use of a private restroom to a
             Sex-Segregated Facilities               member of the public. If an
                                                     individual feels uncomfortable
             Nothing in the Human Rights Law
                                                     using a particular restroom
             prohibits restrooms from being
                                                     because of another individuals
             designated by gender. With respect
                                                     presence in the restroom, he or
             to facilities that are restricted
                                                     she may be encouraged to wait
             on the basis of sex, the following
                                                     until that individual has left, or
             are some of the factors that
                                                     to use another restroom.
             suggest that discriminatory
             conduct related to gender identity      D. Public Accommodations
             has occurred:                           Where Nudity is Unavoidable
                                                     leg., health clubs, drtssng or chenging
             • Not allowing individuals to use a     rooms, etc)

               restroom or other sex-segregated      Public accommodations should
               facility consistent with their        provide access to appropriate
               gender identity or gender             facilities for all individuals.
               expression; or
                                                     The Human Rights Corn mission
               Requiring individuals to provide
                                                     recommends that public
               identification as a means of
                                                     accommodation facilities, such
               identifying their gender before
                                                     as locker rooms, which are
               allowing them to use the restroom
                                                     designated for use based on sex,
               or other sex-segregated facility.
                                                     take steps to create private
            Policies and practices aimed at          spaces within them (for example,
            preventing or addressing lewd            by installing curtains or cubicles).
            behavior or conduct that violates
                                                     Factors that suggest discriminatory
            the privacy of others should
                                                     conduct has occurred will include
            apply to and protect all individuals.
                                                     not allowing individuals to use a
            The Commission recommends
                                                     dressing or changing room
            that, where single occupancy
                                                     consistent with their gender
            restrooms are available, they be
                                                     identity or gender expression.
            designated as “gender neutral.”
            The Commission also encourages


                                                    NEW YORK OTY COMMISvON ON HUMAN RIGHTS
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                GUIDELINES REGARDING CEt1llEI                ENfiTY SCRMATIIfl1
            E. Policy/Training                             $100 per day for each day
            The Commission recommends                      the violation continues.
            that employers, housing                        A private cause of action may
            providers, providers of public                 be brought under the City’s
            accommodations, and banks!                     Human Rights Law. Upon
                                                          finding that a violation of the
            lending institutions implement
                                                          Law has occurred, a court
            anti-discrimination policies
                                                          may award damages, injunctive
            that address gender identity and
                                                          relief, and attorney’s fees.
            gender expression issues, as
                                                          ‘the New York City Corporation
            well as alt other areas covered by
                                                          Counsel may bring a civil action
            the Human Rights Law, and
                                                          when there is reasonable cause to
            institute training for employees
                                                          believe that a person or group is
            and agents on an ongoing basis.
                                                          engaging in a pattern or practice

                                                          that denies to any person ihe full
            V. Enforcement and Penalties
                                                          enjoyment of rights under the
            The City Human Rights Law is                  City Human Rights Law. In this
            enforced in a number of ways:                 instance, the court may award
                                                          damages, injunctive relief and
              The Commission on Human                     attorney’s fees, and may also
              Rights provides opportunities               award civil penalties of not more
              for mediation of complaints                 than $250,000.
              and also investigates and                   In a case involving discriminatory
              prosecutes violations of the Law.          harassment or violence, where a
              If the Commission, after a                 person has been found to have
              hearing, finds that violation of           interfered or attempted to
              the Law has occurred, it may               interfere by threats, intimidation
              award damages and order other              or coercion with rights protected
             affirmative relief such as, for             under the Law, and the interfer
             example, hiring, reinstating,               ence or attempted interference
             or upgrading an employee                    was motivated in whole or in
             and requiring admission to an               part by the victim’s actual or
             organization. In addition,                  perceived gender, the New York
             the Commission may order                    City Corporation Counsel may
             civil penalties up to $250,000.             ask a court to award civil
             A person who fails to comply                penalties of not more than
             with an order issued by the                 $100,000.
             Commission may also he liable
                                                        Appendix
             for a civil penalty of not more
             than $50,000 and an additional             Local Law 3
             civil penalty of not more than

           rJ[VJ YORd CITY COMMISSION ON HUMAN RIGHTS

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                                                   LOCAL LAWS
                                                       OF
                                              THE CITY Of NEW YORK
                                                   FOR TIlE YEAR 2002

                                                            No.3

            Introduced by Council Members Perkins, Lopez, Quinn, Reed, the Speaker (Council Member
            Miller), Moskowitz, Rodriguez, Boyland, Avella, Davis, de Blasio, Gennaro, Gerson, Katz, Kop
            pdl, Liu, McMahon, Monserrate, Rivera, Sears, Weprin, Brewer, Barron, Serrano and Stewart;
            also Council Members Addabbo, Jr., Martinez, Yasskv, Clarke, Baez and Recchia, Jr.
            A Local Law to amend the administrative code of the city of New York, in relation to gender-
            based discrimination.

                    ‘td,ouncilsfllc,!s
              Section 1. Legislative ftndin and intent. The City Council finds and declares that it is in the
           interest of the City of New York to prolect its citizens from discrimination. Discrimination,
           prejudice, intolerance and bigotry directly and profoundly threaten the rights and freedom of
           New Yorkers. The City Council established the Human Rights Law to protect its inhabitants
           from these dangers. Included in the City’s Human Rights Law is a prohibition ofdiscrimination
           against individuals based on gender. ‘the scope of this gender-based protection, however, requires
           clarification. This local law is intended to make clear that all gender—based discrimination       —




           inclttding, but not limited to, discrimination based on an individual’s actual or perceived sex,
           and discrimination based on an individual’s gender identity, self-image, appearance, behavior,
           or expression  —  constitutes a violation of the City’s Human Rights Law.
              Gender-based discrimination affects abroad range of individuals. But the impact of gender-
           based discrimination isespeciallydebilitatingforthosewhosegenderself-image andpresentation
           do not fully accord with the legal sex assigned to them at birth. for those individuals, gender
           based discrimination often leads to pariah status including the loss of a job, the loss of an
           apartment, and the refttssl of service in public accommodations such as restaurants or stores.
           ‘the impact of such discrimination can be especially devastating for those who endure other
           prejudices due to tlseir race, ethnicity, national origin, or citizenship status, in addition to gen
           der-based discrimination, In adopting this legislation, the City Council declares that the ability
           of all New Yorkers to work and to live free from invidious discrimination based ott gender is the
           guiding principle of public policy and law.

                Section 8-102 of chapter one oftitle eight of the administrative code of the C:ityof New York
           is amended by adding a new subdivision 23 to read as follows:
              23. The term “gender” shall include actual or perceived sex and shall also include a person’s
           gender identity, self-image, appearance, behavior or expression, whether or not that gender identity,
           self-image, appearance, behavior or expression is different from that traditionally associated with
           tlse legal sex assigned to that person at birth.

             3. This local law shall take effect immediately.
           THE CITY OF NEW YORK, OFFICE OF THE CITY CLERK, as.:
           I hereby certify that the foregoing is a true copy of a local law of the City of New York, passed by
           the Council on April 24, 2002, and approved by the Mayor on April 30, 2002.




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                                                                            Cl.cJrk2jrJs of tte Council


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   OCTOBER 22, 2015    Albany, NY



Governor Cuomo Introduces Regulations to
Protect Transgender New Yorkers from
Unlawful Discrimination

   First Executive in the Nation to Issue State-Wide
   Regulations Prohibiting Harassment and Discrimination
   on the Basis of Gender Identity, Transgender Status or
   Gender Dysphoria

    Governor Andrew M. Cuomo today introduced regulations through the New
    York State Human Rights Law that unequivocally bans harassment and
    discrimination against transgender people. These regulations affirm that all
    transgender individuals are protected under the State’s Human Rights Law, and
    all public and private employers, housing providers, businesses, creditors and
    others should know that discrimination against transgender persons is unlawful
    and will not be tolerated anywhere in the State of New York.

    This is the first time that any Governor has issued statewide regulations to
    prohibit harassment and discrimination on the basis of gender identity,
    transgender status or gender dysphoria. Governor Cuomo announced the
    regulations in a speech at the Empire State Pride Agenda’s fall dinner, where
    he was also honored with the group’s Silver Torch award.



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    “The scourge of harassment and discrimination against transgender individuals
    is well-known     —   and has also has gone largely unanswered for too
    long,” Governor Cuomo said. “New York has always been a beacon for the
    country on LGBT rights. We started the movement at Stonewall, we led the way
    with marriage equality, and now we are continuing to show the nation the path
    forward. We will not tolerate discrimination or harassment against transgender
    people anywhere in the State of New York         —   period.”




    These regulations represent the first state regulatory action in the nation to
    affirm that harassment and other forms of discrimination, by both public and
    private entities, on the basis of a person’s gender identity, transgender status,
    or gender dysphoria is considered unlawful discrimination. Under state law, the
    New York State Division of Human Rights has the statutory authority to
    promulgate regulations interpreting the Human Rights Law. Further, while
    discrimination against transgender people has been specifically forbidden in
    New York State by Executive Order since 2009, in practice that order only
    protects state workers.

    Additionally, New York currently has limited pockets of legal protection for
    transgender people because of municipal ordinances or laws that also ban
    harassment or discrimination, to varying degrees. However, many
    municipalities do not guarantee these protections, and there is no statewide
    ban on discrimination or harassment for individuals not employed by the state.
    The Governor’s action today will ensure that all transgender individuals do not
    lose their rights simply by traveling from one county or city to another.


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    The State of New York has had a long history of protecting the rights of
    transgender persons under the provisions of the Human Rights Law. In the 1977
    case of Richards v. U.S. Tennis Association, it was recognized that
    discrimination claims under the Human Rights Law may be brought by
    individuals alleging sex discrimination because of their gender identities, and it
    has long been the practice of the Division of Human Rights to accept and
    process gender identity discrimination complaints on the basis of the protected
    categories of sex, and where appropriate, disability.

    Over the years, both New York and federal case law in this area has developed
    to support protection for transgender individuals on the basis of sex. In the
    State of New York, the Human Rights Law offers substantially more protection
    than federal antidiscrimination laws, because gender dysphoria is a recognized
    medical condition that falls within the broad definition of disability found in the
    state law, as New York courts have recognized. This additional protection
    affords increased rights for transgender individuals in New York, such as the
    right to reasonable accommodation for those who allege a diagnosis of gender
    dys ph ona.

    New York was the first state in the nation to enact an anti-discrimination Human
    Rights Law. The Law, enacted in 1945, affords every citizen “an equal
    opportunity to enjoy a full and productive life.” Individuals who feel they have
    been harassed or discriminated against can file complaints in State court, or
    with the New York State Division of Human Rights, without charge. Those
    complaints are promptly investigated at regional offices throughout the state.

    If the Division determines there is probable cause to believe harassment or
    discrimination has occurred, the Commissioner of Human Rights will decide the
    case after a public hearing, and may award job, housing or other benefits, back
    and front pay, compensatory damages for mental anguish, civil fines and
    penalties, and may also require policy changes and training as appropriate.



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     Civil fines and penalties can be up to $50,000 or up to $100,000 if the
     discrimination is found be “willful, wanton or malicious” and, unlike under
     federal law, compensatory damages to individuals are not capped.

     The new regulations can be viewed here. The State’s existing Human Rights
     Law can be viewed here.

     Senator Brad Hoylman said: “Transgender rights are part of the unfinished
     business of the LGBT civil rights movement in New York and I commend
     Governor Cuomo for taking this bold and courageous step of enacting housing
     and employment protections for transgender people through regulation.
     Because of the Governor’s actions today, soon thousands of New Yorkers will
     no longer be considered second-class citizens simply because they identify as
     transgender. The Gender Expression Nondiscrimination Act, sponsored by
     Senator Squadron and Assembly Member Gottfried, has been blocked from
     consideration for years by the Republican majority in the State Senate. As the
    only openly-LGBT person in the Senate, I’m extremely grateful to Governor
    Cuomo for taking this historic step and look forward to working with him,
    advocates and my Democratic Senate colleagues to codify his actions in a
    future legislative session.”

    Senator Daniel Squadron said: “This is a big step to correct one of the state’s
    great injustices. Transgender New Yorkers will now have more confidence that
    discrimination in homes, jobs, and public accommodations will not be tolerated.
    I thank Governor Cuomo for this strong executive action; my legislative
    colleagues, Senator Hoylman, and Assemblymembers Gottfried and Glick, with
    whom I will continue to push the Gender Expression Non-Discrimination Act;
    and, most importantly, the advocates and members of the community who have
    fought tirelessly to demand basic fairness.”

    Assemblywomen Deborah Glick said: “Transgender New Yorkers have faced
    years of discrimination, because our laws have lagged behind the reality of


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     people’s lives. But I, and others, have argued that our anti-discrimination laws
    actually do extend their protections to transgender New Yorkers. I am
    extremely pleased that Governor Cuomo, once again, is stepping up to ensure
    that New York is a leader in protecting rights for all LGBT New Yorkers.”

    Assemblyman Harry Bronson said: “This is a tremendous step forward for New
    York State. Harassment and discrimination against transgender people is
    unacceptable, and Governor Cuomo is absolutely right to take this bold stand.
    This is about making sure that equality and justice really are ‘for all’         —   and we
    hope other states and the federal government will take action as well.”

    Assemblyman Richard Gottfried said: “Governor Cuomo’s executive action to
    interpret New York’s Human Rights Law to cover transgender discrimination is
    a major step for dignity for all. Employers, housing providers, places of public
    accommodations and creditors must now apply the interpretation that
    transgender discrimination is a form of sex discrimination to their practices and
    policies. But the State Senate is not off the hook and must pass the GENDA bill
    so there is no question that we support equality for all New Yorkers.”

    Nathan Schaefer, Executive Director of the Empire State Pride Agenda
    (ESPA), said: “After years of tireless advocacy, we’ve won a tremendous victory
    for transgender civil rights with Governor Cuomo’s announcement tonight.”

    ESPA Board Co-Chairs Norman C. Simon and Melissa Sklarz also praised the
    Governor’s announcement, noting “This victory will only quicken our stride as
    Pride Agenda keeps moving toward winning full equality and justice for LGBT
    New Yorkers.”

    The regulations will be subject to a 45 day notice and comment period before
    full implementation.




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    Today’s announcement builds on Governor Cuomo’s past groundbrea king
    support for the transgender community. In 2014, the Governor introduced new
    regulations to include transgender health care services under New York State’s
    Medicaid program, ensuring that enrollees could receive treatment coverage
    for hormone therapy and gender reassignment surgery. The Governor’s
    administration also issued regulatory guidance to commercial insurers stating
    that they may not deny medically necessary treatment for gender dysphoria.

    Additionally, this summer, Governor Cuomo announced that New York would
    be the first state in the nation to commit to ending the HIV/AIDS epidemic. The
    Governor’s pledge will be accomplished by reducing the annual number of new
    HIV infections to just 750 (from an estimated 3,000) by the end of 2020 and
    achieve New York’s first ever decrease in HIV prevalence. This would mark the
    first time there is a reduction in the pervasiveness of AIDS due to a drop in new
    cases.




    Contact the Governor’s Press Office
    NYC Press Office: 212.621.4640


    Albany Press Office: 518.474.8418


         Contact us
         by email:        press.officeexec.ny.gov




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                                                                                      BALTIC STREET AEH, INC,



                                                  Advocacy Employment Housing

                                                                                              Brooklyn Self-Help and
                                                                                                    Advocacy Center
                                                                                          250 Baltic Street, 3rd Floor
                                                                                                 Brooklyn, NY 11201
 June 12, 2017                                                                                     let: 718 875-7744
                                                                                                  Fax: 718 243-0763

                                                                                                Bronx Self-Help and
                                                                                                    Advocacy Center
 Re: Ms. Mariah Lopez                                                                          369 East 148th Street
                                                                                                         Lower Level
                                                                                                    Bronx, NY 10455
 To whom it may concern:                                                                        Tel:718 562-6712/82
       I Anthony Sgarlato advocate of Brooklyn Self-Help and Advocacy Center am                   Fax: 718 562-6491

 writing in regards to Ms. Mariah Lopez who is currently homeless and in need of a                 Staten Island Peer
                                                                                                    Advocacy Center
 subsidized housing opportunity. She diligently fulfilled her paperwork agreement we
 requested and she is doing all she can to work accordingly to acquire housing                 Psychiatric Center
                                                                                                777 Seaview Ave.
 interviews. Her housing packet was sent to single point of access a program of Center               Building #10
                                                                                         Staten Island, NY 10305
 for Urban Community Services to acquire three guaranteed housing interviews. We are11718 667-1609/2382
                                  If          any questions please feel free to call me at     Fax: 718 667-5017
 working hard to find her housing.    you have

 (718) 855-5929.                                                                             Self Help and Advocacy
                                                                                            Sevices for Older Adults
                                                                                        Kingsboro Psychiatric Center
                                                                                                   681 Clarkson Ave.
                                                                                                         Building #25
 Sincerely,                                                                                      Brooklyn, NY 11203
                                                                                                   Tel: 718 774-1027
                                                                                                  Fax: 718 221-0271

                                                                                          Manhattan West Self-Help
A thonySg                                                                                   and Advocacy Program
                                                                                                   163 125th Street
Program Manager
                                                                                                          11th Floor
Brooklyn Self-Help and A vocacy Center
                                                                                               New  York, NY 10027
                                                                                           Tel: 212 961-8989/8967
                                                                                                 Fax: 212 866-2760

                                                                                                www.balticstreet.org
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